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                IN THE UNITED STATES DISTRICT COURT
                  FOR THE DISTRICT OF PUERTO RICO

 UNITED STATES OF AMERICA
 Plaintiff                                     CRIMINAL 13-0534-108CCC
 vs
 108) ROBERTO RAMOS-SEGARRA,
 a/k/a “Junito” (Counts ONE
 through FIVE)
 Defendant



                                    ORDER

      Having considered the Report and Recommendation filed on
September 15, 2015 (D.E. 3658) on a Rule 11 proceeding of defendant
[108] Roberto Ramos-Segarra before U.S. Magistrate-Judge Camille L.
Vélez-Rivé on September 14, 2015, to which no objection has been filed, the
same is APPROVED. Accordingly, the plea of guilty of defendant is accepted.
The Court FINDS that his plea was voluntary and intelligently entered with
awareness of his rights and the consequences of pleading guilty and contains
all elements of the offense charged in the indictment.
      This case was referred to the U.S. Probation Office for preparation of a
Presentence Investigation Report since September 14, 2015. The sentencing
hearing is set for December 15, 2015 at 4:15 PM.
      The U.S. Probation Officer is reminded that, should any objections be
raised by defendant to the PreSentence Report, the Addendum to said
PreSentence Report must specifically identify any unresolved objections, the
grounds for the objections, and the U.S. Probation Officer’s comments on
them, as required by Fed. R. Crim. P. 32(g). The party that raised the
unresolved objections shall, within twenty-four (24) hours after the
Addendum is disclosed, state in writing whether it will insist that the unresolved
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objections be ruled upon by the Court. Failure to do so will be deemed by the
Court as a withdrawal of the unresolved objections.
     SO ORDERED.
     At San Juan, Puerto Rico, on October 28, 2015.



                                          S/CARMEN CONSUELO CEREZO
                                          United States District Judge
